         Case 1:24-cv-01702-JPB Document 8 Filed 07/17/24 Page 1 of 3




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

Paul D. Laney,                          )
                                        )
       Plaintiff,                       ) Civil Action File No.:
                                        ) 1:24-cv-01702-JPB-JCF
v.                                      )
                                        )
Equifax Information Services, LLC       )
and NewRez LLC dba Shellpoint           )
Mortgage Servicing,                     )
                                        )
       Defendants.                      )
                                        )

         NOTICE OF VOLUNTARY DISMISSAL AS TO EQUIFAX
               INFORMATION SERVICES, LLC, ONLY

      Plaintiff, Paul D. Laney, by and through undersigned counsel, hereby

dismisses this action against Defendant, Equifax Information Services, LLC, with

prejudice pursuant to FED. R. CIV. P. 41(a)(1)(A)(i).

      Respectfully submitted this 16th day of July, 2024.

                                             BERRY & ASSOCIATES

                                             /s/ Matthew T. Berry
                                             Matthew T. Berry
                                             Georgia Bar No.: 055663
                                             matt@mattberry.com
                                             Telephone: (404) 235-3334
                                             2751 Buford Highway, Suite 600
                                             Atlanta, GA 30324

                                         1
Case 1:24-cv-01702-JPB Document 8 Filed 07/17/24 Page 2 of 3




                                 /s/ Chris Armor
                                 Christopher N. Armor
                                 Georgia Bar No.: 614061
                                 P.O. Box 509
                                 Londonderry, Vermont 05148
                                 Ph. (651) 208-6441
                                 Chris.armor@armorlaw.com

                                 Counsel for Plaintiff




                             2
         Case 1:24-cv-01702-JPB Document 8 Filed 07/17/24 Page 3 of 3




                         CERTIFICATE OF SERVICE

      I hereby certify that on July 16, 2024, I caused the electronic filing of the
foregoing document to be filed with the Clerk of the Court using the CM/ECF
system, which will automatically send e-mail notifications of such filing to all
attorneys of record that have appeared in this case. I also served a copy of the
foregoing document on Equifax Information Services, LLC, with adequate postage
affixed thereto and addressed as follows:
                                 Christine Kapur
                           Equifax Information Services
                                1550 Peachtree St.
                                Atlanta GA 30309

                                                BERRY & ASSOCIATES

                                                /s/ Matthew Berry
                                                Matthew Berry
                                                Georgia Bar No.: 055663
                                                2751 Buford Highway, Suite 600
                                                Atlanta, GA 30324

                                                /s/ Chris Armor
                                                Christopher N. Armor
                                                Georgia Bar No.: 614061
                                                P.O. Box 509
                                                Londonderry, Vermont 05148
                                                Ph. (651) 208-6441
                                                Chris.armor@armorlaw.com

                                                Counsel for Plaintiff




                                            3
